           Case 1:20-cv-00774-RGA Document 1 Filed 06/09/20 Page 1 of 3 PageID #: 1



Official Form 417A (12/18)




                                  [Caption as in Form 416A, 416B, or 416D, as appropriate]

                        NOTICE OF APPEAL AND STATEMENT OF ELECTION


       Part 1: Identify the appellant(s)
           1. Name(s) of appellant(s):
              Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance
              Company of North America and Indemnity Insurance Company of North America, Ace Insurance
              Group Westchester Fire Insurance Company and Westchester Surplus Lines Insurance Company

           2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
              appeal:

                For appeals in an adversary proceeding.        For appeals in a bankruptcy case and not in an
                ❑   Plaintiff                                  adversary proceeding.
                ❑   Defendant                                  ❑ Debtor
                ❑   Other (describe)                           ❑ Creditor
                                                               ❑ Trustee
                                                               Other (describe)   Insurer / Interested Party



       Part 2: Identify the subject of this appeal
           1. Describe the judgment, order, or decree appealed from: The Order appealed from is Dkt. 695,
              (I) Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and Manner of Notice
              Thereof, (III) Approving Procedures for Providing Notice of Bar Date and Other Important
              Information to Abuse Survivors, and (IV) Approving Confidentiality Procedures for Abuse Survivor.
              This order approved a form proof of claim for abuse claimants, as proposed by the Boy Scouts of
              America and objected to by Century, that was not properly before the court and was not designed to
              elicit sufficient information to establish the prima facie validity of claims.

           2. State the date on which the judgment, order, or decree was entered: May 26, 2020




                                                                                                                    1
   Case 1:20-cv-00774-RGA Document 1 Filed 06/09/20 Page 2 of 3 PageID #: 2



Part 3: Identify the other parties to the appeal
List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
and telephone numbers of their attorneys (attach additional pages if necessary):


Party: Boy Scouts of America       Attorney: MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       and Delaware BSA, LLC                 Derek C. Abbott (No. 3376)
                                             Andrew R. Remming (No. 5120)
                                             Joseph C. Barsalona II (No. 6102)
                                             Eric W. Moats (No. 6441)
                                             Paige N. Topper (No. 6470)
                                             1201 North Market Street, 16th Floor
                                             P.O. Box 1347
                                             Wilmington, Delaware 19899-1347
                                             Telephone: (302) 658-9200

                                              SIDLEY AUSTIN LLP
                                              Thomas A. Labuda
                                              Michael C. Andolina
                                              Matthew E. Linder
                                              One South Dearborn Street
                                              Chicago, Illinois 60603
                                              Telephone: (312) 853-7000

                                              SIDLEY AUSTIN LLP
                                              Jessica C. K. Boelter
                                              787 Seventh Avenue
                                              New York, New York 10019
                                              Telephone: (212) 839-5300




Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

          Appellant(s) elect to have the appeal heard by the United States District Court rather than by
            the Bankruptcy Appellate Panel.




                                                                                                              2
   Case 1:20-cv-00774-RGA Document 1 Filed 06/09/20 Page 3 of 3 PageID #: 3



Part 5: Sign below

  /s/ Stamatios Stamoulis                                                   Date: June 8, 2020
Signature of attorney for appellant(s) (or appellant(s)
if not represented by an attorney)

Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney):

STAMOULIS & WEINBLATT LLC
Stamatios Stamoulis (#4606)
800 N. West Street
Third Floor
Wilmington, Delaware 19801
Telephone: (302) 999-1540

O’MELVENY & MYERS LLP
Tancred Schiavoni
Janine Panchok-Berry
Times Square Tower
7 Times Square
New York, New York 10036-6537
Telephone: (212) 326-2000




Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.




                                                                                                                3
